Case 3:12-cr-00003-DHB-BKE Document 801 Filed 09/04/14 Page 1 of 2

                                                                                                                                                                    i - ' l |t r n
                                                                                                                                                         1 r , 9 . 1 i 7'("":
                                                                                                                                                                           f - 1i F i ^ , . , , ,
                                                                                                                                                                  'i              nvu\r
                               IN    THE UNITED STATES DISTRICT COURT FOR T H E       ,, _ _riy.

                                          SOUTHERNDISTRICT OF GEORGIA
                                               AUGUSTA DIVISION
                                                                                  stP_i+Pil2:
                                                                                zCIIq
                                                                                                                                                  :L[1-r]{
UNITED STATES                                                                                                                                               :c iSI,OFGA.
                                                                                          .r(
                                                                                          *               cR 312-003
A\TTr-\\] Tr.)             qMTT        E'V                                                *




                                                                              ORDER



                Tn             fhe          r:anri nncd                     r'-'rrina           I    rrArt cr,              Defendant                     Anronio

Smlley                    has filed                     a motion                   to     reduce               sentence                 under              Federal

Rule of                    Crlminal                    Procedure                     35 (b) because of                                his     substantial

:ss isi-:n-F                         i ^ 'he nrosecutjon                                  of others.

                Rule                35 (b)            al1ows                 sentence                 reductions                       but         only            upon

molion                    of     the government.                                 The decision                        to        file         a motion                   for

downward departure                                           fies           within                  the      sound dj-scretion                              of         the

.t.\/Frnmonr                               llni   l-F.l       ql-aiaq           rr       Al rr:roz               11q       tr    ?.]       a?o           aA1       / 11-h


Cir.                 L997).                       A       fede.raf                 district                   court              lnay         review                   the

governmenl's                               refusal                ro        fi le a Rule 35(b) motion only                                                   if        the

defendant                       first             makes a "substantial                                       threshofd                     showing" that

                                     y v < t J u d J s L ^r f ,   ttnnn       an        rrnar)nqri           rrrtinn:l                mnr- i rro           crrah        :c


race            or        rel       i oi    nn           i^lA.]F       \/     tlni      rcd         er:rec               5O/     Il    q         I A l       I Q(-a?


    (l-992),                    In the             absence of                        this           showing, a defendant                                     has no

r i a, r h f
!                    lo
                     !v        rli scorrerv                or      Fn        crrirjenr)arv                   haar)
                                                                                                             rrLqlrrlv     n.r    -h        iha          m.t-r6r
      Yrr!




Id.            at         186.             In the instant                            case, Defendant has made no such
Case 3:12-cr-00003-DHB-BKE Document 801 Filed 09/04/14 Page 2 of 2




          In the absence of                  a R u l e 3 5 ( b ) m o t i o n b y t h e Government

or    a      substantial               showing      that        the       Government acted                 with

unconstitutional                   motive     in    its       failure       to    fiLe     a Rule 35 (b)

mnt   : nn     - ha   a / - \ r r- r   has    nn    a rf hori    -v       I o               n^   €^-l     ^^r   / ^
                                                                                 f edUce


senrence.         Accordingly,                his    present          motion       (doc. no.            794) is

DENIED.

          OF.DER ENTERED                :f   Arrarr<t-    :    C.aara::           rhi.                          of

September, 2014.




                                                              UN]TED ST              S DISTRICT
